                                     Case 8:12-cr-00379-TDC Document 10-1 Filed 08/01/12 Page 1 of 3


                             ',:--'!XTTACI-IMENT A: 'SrAT;EMENT                                              OF FACTS S'0IJUWASEUN   SANYA
                                                                                                                       :'.:   ,.."
                              The parties herebystim<ta{?'.flnd agree that if this 1J~(}.U~r';lCli
                                                                                                gone to trial the government
                 ;,,)l[Qulc:ihay.eprov~-'Jlhe.folrowing   (acts through competent eVidence beyond a reasonable doubt.Tne
               "-P¥'~;{!-'irs.qif~siiJ;tildi~":~~'ijagreethat thefallowing/acts do not encompass all of the evidence which
                    11;oiiZc{ have been preJtilted had this matte," gone to trial; burthat these facts are sufficient to
                    esiCib7tihthe elem~J'it.Hofrhtcrime chargeZl.'beyonda.reasonable doubt.
                   }:"':'';~~~~''';:"''                .. ' '.;;{EP),ifi,;""<2if~.i~'S~;~;:J ;:. :~:,:. .'                            .
                          Defendant OLVWA~,I~YQJ.~f::,~AN¥A("SANYA"), Dimitria Limnios ("Limnios"),
                  Co-Conspirator A, Co-Conspii~tor 13; ~Ii'd~()~hersknowinglyand willfully conspired to commit an
                  offense against the United' States,' namely, to knowingly- and with intent to defraud, effect
                  tl:ansactiol1swith one or more.access devices issued to another person or persons, to receive payment
                  and any other thing of value, during any one-yearperiod, the aggregate value of which was equal to
                  or greater than $1,000, in and affecting interstate and foreign commerce, all in violation of Title 18,
                  United States Code, Section 1029(a)(5).

                           Beginning in at least 20 10, SANY A began overseeing a credit card skimming operation.
                   Under this scheme, SANY A recruited employees at various local restaurants and other places of
                   business to steal the credit card information oftheir customers using small electronic devices known
                   as a skimmers that SANYA had provided to them. The customer's credit card data constituted an
                   "access device," as defined inTitle 18, United States Code, Section 1029( e)(1). This stolen data was
                   then unlawfully loaded onto gift cards, includingAmerican Express gift cards, or unlawfully encoded
                   onto other credit and/or debit cards through the use of "device-making equipment," as defined in
                   Title I8, United States Code, Section 1029(e)(6). The members ofthe scheme fraudulently used the
                   re-encoded gift, credit, and/or debit cards to make purchases at area businesses, which merchandise
                   the co-conspirators later returned to those businesses in exchange for cash. I

                           Specifically, defendant SANYA instructed Limnios and other individuals to make numerous
                  purchases of gift 'cards at stores in Maryland, including at Giant, Safeway, and Shopper's Food
                   Warehouse, using access devices that SANY A knew to be counterfeit. The conspirators then used
                  these gift cards at local retail stores to purchase merchandise. That merchandise was later returned
                  to the retail store in exchange for United. States currency. In this way, the conspirators were able to
                   conv>J=J;.
                            h                             .            gift cards purchased with stolen access device
             /fo~mation          into cash.

    (~.                           Se.veral examples of fraudulent purchases made by SANY A's co-conspirators, at his
U£fl~dllection,                      are as follows:

                                  o              On or about August 16,2011, Co-Conspirator A used a counterfeit access device

                                          g      containing a stolen credit card account number ending in -7018 and belonging to
                                                 Victim A, to conduct a fraudulent transaction at the Safeway store located at 403
                                  ~<>~
                           1 The defendant stipulates that the gift, credit, an'd/or debit cards used by members of the
                   scheme to make fraudulent purchases constituted "counterfeit access devices," as defined in
                   Title 18, United States Code, Section 1029(e)(2).




--    ....   _--_ _ _-_
                     .. ..                •.__ ._---      ..   __   ._,-      --"""'-"   "--        -   _.   "   ..
                             Case 8:12-cr-00379-TDC Document 10-1 Filed 08/01/12 Page 2 of 3

                                                                                                                                                     ...... :..

                                        RedlandsAvenJtiKip"s:~;ille"Maryland:,'i~,~'t~a~saction       was for a $500 gift card.
                                        Co-Conspiratbr:"'1\,;';!was:'captured on Vfd~(rjri.al<'ingthis transaction; she used
                                        counterfHr ahc~ss)de'\fices containing an addiH6hal 5 stolen credit card numbers at
                         ."u:::'.,,:;' D~he,same;store, em this same date. .                             .
                                                                  " •                         " •• <:;,:.-:'.

                                  On ,q~,?-8SWr~~gustf.?J}:R} 1, Co~Conspir1torA used a counterfeit access device
                                  cOfiiai#MjJs'ifl
                                                 stol~r;lcreditcard accountmimber ending in -0238 and belonging to
                                  Victiih'B,"io'c(Jg,~il'~fsixfr%u,dulenttransactions at the Safeway store located at 403
                                  RedlandsA veri~ein'R~.~*vilre, Maryland. The transactions were for six different gift
                                  cards and amounted to over $2,500. Co-Conspirator A was captured on video
                                  making these transactions; she used counterfeit access devices containing an
                                  additional 17 stolen credit card numbers at the same store, on this same date.

                         o       On or about August 31, 201 I, Co-Conspirator A used a, counterfeit access device
                                 containing a stolen credit card account number ending in ':2116 and belonging to
                                 Victim C, to conduct a li-audulenHransactionanhe Safeway store located at 403
                                 Redlands Avenue in Rockville. The transaction was for a $500 gift card. Co-
                                 Conspirator A was captured on video making tlus transaction; she used counterfeit
                                 access devices containing an additional 27 stolen credit card numbers at the same
                                 store, on this same date.

                         o       On or about September 28, 2011, Limnios entered the Giant store located at 2900
                                 University Boulevard West in Bethesda, Maryland. There, she presented a
                                 counterfeit access device containing a stolen credit card account number ending in
                                 -2711 and belonging to Victim D. Limnios conducted three successive purchases
                                 of gift cards coritainingapproximately $500, for a total loss of approximately $1,500.

                         o       On or about October 14,2011, Limnios entered the Giant store located at 842 Muddy
                                 Branch Road in Gaithersburg, Maryland. There, she presented a counterfeit access
                                 device containing a stolen credit card account number ending in -2934 and belonging
                                 to Victim E. Limnios conducted back-to-back purchases of gift cards containing
                                 approximately $500, for a total loss of approximately $1,000. .

                         o       On or about January 9, 2012, Limnios entered the Safeway store located at 927 West
                                 7th Street in Frederick, "Maryland. There, she presented a counterfeit access device
                                 containing a stolen credit card account number ending in ~2005and belonging to
                                 Victim F. Limnios purchased a gift card containing approximately $400.

                         o      Also OIl or about January 9,2012, Limniosentered the Safewaystore located at 9807
                                Main Street in Damascus, Maryland. There, she presented a counterfeit access
                                device containing a stolen credit cardaccount number ending in -1005 and belonging
                                to Victim G. Limnios purchased a gift card containing approximately $400.



                                                                        2




---_._-   -_ ..._    _-----------
                    ..                                  ----- -,,_._~.._-- ----..---   .._ .._.-            -_              -   ---- ---   _   ..-
                                                                                                     -,          ....   ,


                                                                                                                                                        --- --~_.,,-   _   ......•   _"-   ---_._~-
,   .
                       Case 8:12-cr-00379-TDC Document 10-1 Filed 08/01/12 Page 3 of 3



                  o        On or aboutFebru~Wy8'fl2"{jli2.,            Limnios ent~t<idJt1i~             Safeway store located at 815 East
                           Main StreetirtcMiddletown, Maryland. T1iere~'ish6"presen:teda counterfeitaccess
                           d~y;icr;::..p.9ntaining     a stolert credit card account number ending In ~'1003.and b~longi~g
        'r:~tL1~~Cfq
                           to' 'i:i~J~1p
                                   ...,. r"!~'
                                               ftLimnios     purcqased
                                                                   ~.. ,
                                                                          a gift card    conta.~nirigapproximately
                                                                                   ~'::.~'.:_':
                                                                                            .. .-:.~.~
                                                                                                    ...':   -               _.
                                                                                                                               $300.

         ',. ~u:~~:':~11.addition,
                              d:~f~~a~B{SAN~t\'stip~rates thatCo':Conspirator 13,upon his direction, stole the
        ac-ce's~"-de"vice
                        iriforin:atioifiof<a.PRl:O~Jtnat~I¥~4individualsfrom a Starbucks coffee house located
        at 55.0 C Street,N.W,~;';inthe.J?~Jf1'c.i:~.f~9JUffibia.Co-ConspiratorB:vasan employee at Starbucks
        and, between at least September 2010 an<i'November 2011,comnutted numerous acts of access
        device fraud. SANYApaid Co-Conspirator B approximately $10;000 for these stolen credit card
        rfumbers. Eventually, these stolen access devices were used by the conspirators at various Giant,
        Walmart, Safeway, and other stores in Maryland:J0Jgi:ria, and the DistriCt of Columbia.
                                     .                       .W«Z~t).
                Defendant SANYA caused ~ierlll j,nuuiI'eO 1raui:lent purchases to be made using
        counterfeit access devices. Moreover, his unlawful actions impacted2500r more victims. SANY A
        stipulates that he was an organi:z;er or leader of criminal activity that involved five or more
        participants. Finally, Giant, Safeway, Walmart, Shopper's Food Warehouse, Starbucks, American
        Express and the various banks that issued other access devices all operate in interstate and foreign
        commerce, and the charged conspiracy thus affected interstate and foreign commerce.


                 Ihaveread this statement offacts and carefully reviewed it with my attorney. I acknowledge
        that itis;true and correct.


         C,
        Date
               h-z J'2o! Z                              Oluwaseun Sanya




                                                                      3




                                                                                                      ;   ,',:
